        CASE 0:20-cr-00168-WMW-ECW Doc. 14 Filed 08/12/20 Page 1 of 2


                                                                            CL Ao.tQ l.dnr^/(g.r^J
                          UNITED STATES DISTzuCT COURT
                             DISTRICT OF MINNESOTA


UNITED STATES OF AMERICA9                                 NiDICTMENT

                     Plaintifl                            18   U.S.C. $ 8aa(c)
                                                          18   U.S.C. $ 844(i)
              v.                                          21   U.S.C. $ 853(p)
                                                          28   U.s.c. $ e82(aX2XB)
MONTEZ TERRIEL LEE, JR.,                                  28   u.S.C. $ e82(bx1)
                                                          28   U.S.C. $ 2a61(c)
                     Defendant.


       TIIE UMTED STATES GRAND JURY CHARGES T}IAT:

                                         COUNT     1
                     (Arson on Property Used in Interstate Commerce)

       On or about May 28, 202A,in the State and District of Minnesota, the defendant,

                             MONTEZ TERRIEL LEE, JR,

maliciously damaged and destroye4 by means of fire and explosive materials, the Max It

Pawn Shop, located at 2726 East Lake Street a building used in interstate commerce, in

violation of Title 18, United States Code, Section 844(i)

                             FORFEITT]RE ALLEGATION

       If convicted of Count I ofthis Indictment, the defendant, MONTEZ TERRIEL LEE,

JR., shall forfeit to the United States of America" pursuant to Title 18, United States Code,

Section 982(a)(2)@), any property constituting,        or derived from, proceeds obtained,

directly or indirectly, as a result of such violation, and pursuant to Title 18, United States

Code, Section 8aa(c) and Title 28, United States Code, Section 246I(c), any explosive

materials involved or used or intended to be used in the violation.


                                                                                   AU6 12 202U{
                                                                               U.S. DISTRICT   COtifil MPIS
          CASE 0:20-cr-00168-WMW-ECW Doc. 14 Filed 08/12/20 Page 2 of 2



U.S. v. Montez Terriel Lee" Jr.


         If   any of the above-described forfeitable property is unavailable for forfeiture, the

United States intends to seek the forfeiture of substitute properfy as provided for in Title

21, United States Code, Section 853(p), as incorporated by Title 18, United States Code,

Section 982(b)(1) and Title 28, United States Code, Section 2461(c).



                                          A TRUE BILL




UNITED STATES ATTORNEY                               FOREPERSON
